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                                     U.S. District Court
            United States District Court - District of New Mexico (Albuquerque)
                  CIVIL DOCKET FOR CASE #: 1:21-cv-01111-LF-JFR


The County of Grant v. McKinsey & Company, Inc.               Date Filed: 11/17/2021
Assigned to: Magistrate Judge Laura Fashing                   Jury Demand: Plaintiff
Referred to: Magistrate Judge John F. Robbenhaar              Nature of Suit: 367 Personal Injury:
Case in other court: Sixth Judicial District Court, 21cv268   Health Care/Pharmaceutical PI Prod.
Cause: 28:1441 Petition for Removal- Personal Injury          Liability
                                                              Jurisdiction: Diversity
Plaintiff
The County of Grant                            represented by Carlos E Sedillo
                                                              Fadduol, Cluff, Hardy & Conaway, PC
                                                              3301 San Mateo Blvd., NE
                                                              Albuquerque, NM 87110
                                                              (505) 459-8653
                                                              Fax: 505-247-1344
                                                              Email: csedillo@fchclaw.com
                                                              ATTORNEY TO BE NOTICED

                                                              Joshua K Conaway
                                                              Fadduol, Cluff, Hardy & Conaway, P.C.
                                                              3301 San Mateo Blvd NE
                                                              Albuquerque, NM 87110
                                                              (505) 243-6045
                                                              Fax: (505) 243-6642
                                                              Email: jconaway@fchclaw.com
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
McKinsey & Company, Inc.                       represented by Larry J Montano
                                                              Holland & Hart, LLP
                                                              110 N. Guadalupe
                                                              Suite 1
                                                              Santa Fe, NM 87501
                                                              505-988-4421
                                                              Fax: 505-983-6043
                                                              Email: lmontano@hollandhart.com
                                                              ATTORNEY TO BE NOTICED




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 Date Filed     # Docket Text
 11/17/2021     1 NOTICE OF REMOVAL by McKinsey & Company, Inc. from Sixth Judicial
                  District Court, case number D-608-CV-2021-00268. ( Filing Fee - Online
                  Payment), filed by McKinsey & Company, Inc.. (Attachments: # 1 Exhibit A, # 2
                  Civil Cover Sheet)(Montano, Larry) (Entered: 11/17/2021)
 11/17/2021        Filing and Administrative Fees Received: $ 402 receipt number ANMDC-
                   7996198 re 1 Notice of Removal, filed by McKinsey & Company, Inc. (Payment
                   made via Pay.gov)(Montano, Larry) (Entered: 11/17/2021)
 11/17/2021        United States Magistrate Judge Laura Fashing and United States Magistrate Judge
                   John F. Robbenhaar assigned. (dr) (Entered: 11/17/2021)
 11/17/2021     2 PLEASE TAKE NOTICE that this case has been randomly assigned to United
                  States Magistrate Judge Laura Fashing to conduct dispositive proceedings in this
                  matter, including motions and trial. Appeal from a judgment entered by a
                  Magistrate Judge will be to the United States Court of Appeals for the Tenth
                  Circuit. It is the responsibility of the case filer to serve a copy of this Notice
                  upon all parties with the summons and complaint. Consent is strictly
                  voluntary, and a party is free to withhold consent without adverse consequences.
                  Should a party choose to consent, notice should be made no later than 21 days
                  after entry of the Order setting the Rule 16 Initial Scheduling Conference. For
                  e-filers, visit our Web site at www.nmd.uscourts.gov for more information and
                  instructions.
                  [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] (dr)
                  (Entered: 11/17/2021)
 11/18/2021     3 INITIAL SCHEDULING ORDER: by Magistrate Judge John F. Robbenhaar.
                  Joint Status Report due by 12/27/2021. Telephone Scheduling Conference set for
                  1/5/2022 at 01:30 PM before Magistrate Judge John F. Robbenhaar. The parties
                  are to call Judge Robbenhaar's AT&T Teleconference Line at 888-363-4735,
                  Access Code 2387395, to connect to the proceedings. Unless otherwise notified
                  by the Clerk or the Court a notice of consent or non-consent for this case to
                  proceed before the trial Magistrate Judge should be submitted by each party no
                  later than 12/9/2021. (kc) Modified on 11/18/2021 (jg). (Entered: 11/18/2021)
 11/18/2021        Set/Reset Deadlines: Joint Status Report due by 12/27/2021. (jg) (Entered:
                   11/18/2021)



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